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     DANNY D. BRACE, JR., #114466
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4

5                                IN THE UNITED STATES DISTRICT COURT

6                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

7
                                                     ) Case No.: 2:03 CR00137-07 FCD
8    UNITED STATES OF AMERICA,                       )
                                                     ) REQUEST FOR ORDER AND ORDER FOR
9                   Plaintiff,                       ) RETURN OF PASSPORT
                                                     )
10          vs.                                      )
                                                     )
11   AMY KIM HUYNH,                                  )
                                                     )
12                  Defendant                        )
13

14   TO: THE JUDGE OF THE ABOVE ENTITLED COURT AND TO THE UNITED STATES

15   ATTORNEY:

16          On or about March 28, 2003, defendant Amy Kim Huynh was released on a $50,000.00

17   appearance bond secured in Case Number 2:03 CR00137 FCD. As one of the conditions for

18   release, defendant was ordered to surrender all passports and visas to the court. On or about that

19   date, defendant surrendered her Passport to the Court.

20          On November 9, 2004, Ms. Huynh pled guilty to 21 U.S.C. §§ 8844 and 2 and on

21   January 18, 2005, was ordered to complete 24 months of supervised release.

22          Because Ms. Huynh has completed her period of supervised release, it is hereby

23   requested that Ms. Huynh’s Passport be released and that the Clerk of the Court be directed to

24   release Ms.Huynh’s passport to her attorney, DANNY D. BRACE, JR.

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                                         REQUEST FOR ORDER - 1
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1    Dated this 8th day of April, 2008.

2                                                      Respectfully submitted,

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4                                                      By: Danny D. Brace, Jr.
                                                       DANNY D. BRACE, JR.
5                                                      Attorney at Law
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7
                                                ORDER
8
            IT IS HEREBY ORDERED THAT defendant Amy Kim Huynh’s Passport be released to
9
     her attorney, DANNY D. BRACE, JR., forthwith.
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     Date: April 8, 2008
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                                          _______________________________________
14                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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                                          REQUEST FOR ORDER - 2
